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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:19-CR-177-MCE
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          FINDINGS AND ORDER
14   GILDARDO BARRIOS (a.k.a. Edgar                     DATE: October 15, 2020
     Munguia),                                          TIME: 10:00 a.m.
15   MARISA MUNGUIA,                                    COURT: Hon. Morrison C. England, Jr.
     MARIA DOLORES BARRIOS-ALVAREZ
16
                                 Defendants.
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            This case was set for a status conference on October 15, 2020. By this stipulation, the parties
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     request that the Court continue the status conference to December 3, 2020, and to exclude time under
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     Local Code T4 as well under the Court’s General Orders, for the reasons set forth below.
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            On April 17, 2020, this Court issued General Order 617, which suspends all jury trials in the
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     Eastern District of California scheduled to commence before June 15, 2020, and allows district judges to
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     continue all criminal matters to a date after June 1. This and previous General Orders were entered to
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     address public health concerns related to COVID-19.
25
            Although the General Orders address the district-wide health concern, the Supreme Court has
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     emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive
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     openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.
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     Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

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 1 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

 2 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 3 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

 4 or in writing”).

 5           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 6 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 7 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 8 the ends of justice served by taking such action outweigh the best interest of the public and the

 9 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

10 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

11 ends of justice served by the granting of such continuance outweigh the best interests of the public and

12 the defendant in a speedy trial.” Id.

13           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

14 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

15 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

16 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

17 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

18 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

19 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the
20 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

21 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

22           In light of the societal context created by the foregoing, this Court should consider the following

23 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

24 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

25 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

26 pretrial continuance must be “specifically limited in time”).

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            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1                                                STIPULATION

 2          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

 3 through defendants’ counsel of record, hereby stipulate as follows:

 4          1.      By this stipulation, the defendants now move to continue the status conference to

 5 December 3, 2020, and to exclude time between October 15, 2020, and December 3, 2020, under Local

 6 Code T4, in addition to the exclusion of time the Court has already ordered in light of public health

 7 concerns cited by the Court’s General Orders.

 8          2.      The parties agree and stipulate, and request that the Court find the following:

 9                  a)     The government has produced discovery in this matter including investigative

10          reports, photographs, and laboratory reports. The government is also in the process of producing

11          or making available to the defense audio and video recordings.

12                  b)     Counsel for defendants will need additional time to review the discovery.

13          Defense counsel will also need time to review the current charges, to investigate and conduct

14          research related to the current charges, and to discuss potential resolutions with their clients, to

15          prepare pretrial motions, and to otherwise prepare for trial.

16                  c)     Counsel for defendants believe that failure to grant the above-requested

17          continuance would deny them the reasonable time necessary for effective preparation, taking into

18          account the exercise of due diligence.

19                  d)     The government does not object to the continuance.

20                  e)     Based on the above-stated findings, the ends of justice served by continuing the

21          case as requested outweigh the interest of the public and the defendant in a trial within the

22          original date prescribed by the Speedy Trial Act.

23                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

24          et seq., within which trial must commence, the time period of October 15, 2020, to December 3,

25          2020, inclusive, is deemed excludable pursuant to this Court’s General Orders, due to the public

26          health concerns created by the COVID-19 pandemic, as well to 18 U.S.C.§ 3161(h)(7)(A), B(iv)

27          [Local Code T4] because it results from a continuance granted by the Court at defendant’s

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 1          request on the basis of the Court’s finding that the ends of justice served by taking such action

 2          outweigh the best interest of the public and the defendant in a speedy trial.

 3          3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 4 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 5 must commence.

 6          IT IS SO STIPULATED.

 7   Dated: October 14, 2020                         MCGREGOR W. SCOTT
                                                     United States Attorney
 8
                                                     /s/ JAMES R. CONOLLY
 9                                                   JAMES R. CONOLLY
                                                     Assistant United States Attorney
10
     Dated: October 14, 2020                         /s/ LEXI NEGIN
11
                                                     LEXI NEGIN
12                                                   Counsel for Defendant
                                                     GILDARDO BARRIOS
13   Dated: October 14, 2020                         /s/ MARY ANN F. BIRD
                                                     MARY ANN F. BIRD
14                                                   Counsel for Defendant
                                                     MARISA MUNGUIA
15   Dated: October 14, 2020                         /s/ DANIEL L. OLSEN
16                                                   DANIEL L. OLSEN
                                                     Counsel for Defendant
17                                                   MARIA DOLORES BARRIOS-ALVAREZ

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19                                          FINDINGS AND ORDER

20          IT IS SO ORDERED.

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22 Dated: October 16, 2020

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